           Case 1:18-cr-00928-MV Document 16 Filed 06/08/18 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO
                                      __________
UNITED STATES OF AMERICA,

                       Plaintiff,

v.                                                                               No. CR 18-928-MV

ROBERT HAACK,

                       Defendant.

                                     Order and Notice of Trial

        THIS MATTER is before the Court on defendant’s Unopposed Motion to Continue the

Jury Trial Setting [15]. The Court has weighed the representations made in the motion and finds

granting a continuance to resolve these issues outweighs the public and defendant’s interest in a

speedy trial pursuant to 18 U.S.C. § 3161, for the following reasons: Defense counsel requests

additional time because although defense counsel has received a voluminous amount of initial

discovery, counsel for the government has indicated that a significant amount of additional

discovery remains to be provided in the near future.

        Conducting a trial in the face of these facts would be contrary to the interests of justice.

Zedner v. United States 126 S. Ct. 1976 (2006). Now, therefore,

        IT IS ORDERED that the trial of this action be and hereby is continued from

June 11, 2018 to Monday, September 24, 2018, at 9:00 a.m., in the United States Courthouse,

106 South Federal Place in Santa Fe, New Mexico, pursuant to 18 U.S.C. § 3161(h)(7)(A), with

the following pretrial dates and deadlines. It is further ordered that the period of time from the

entry of this Order until the new trial date shall be excluded from the time limitations set forth

within 18 U.S.C. § 3161(c)(1) .
            Case 1:18-cr-00928-MV Document 16 Filed 06/08/18 Page 2 of 2




Event                                                            Date/Deadline
Joint Jury Instructions,                                          August 30, 2018
Witness and Exhibit Lists, Voir Dire

Motion to Continue                                                August 30, 2018

Objections to Witness and Exhibit Lists,                         September 7, 2018
Objections to Voir Dire

Motions in Limine/Response/Reply            August 30, 2018 / September 7, 2018 / September 14, 2018

                                                 Responses and replies to Motions filed 14 days or more
                                                   before this deadline are due in accordance with the
                                                    Federal and Local Rules of Criminal Procedure.

Call of the Calendar                                 September 7, 2018, 9:30 a.m.
Jury Selection/Trial                                September 24, 2018, 9:00 a.m.

        In an effort to conserve judicial resources, the Court must be advised of all plea

agreements no later than ten (10) working days prior to trial. The plea must be entered at least

five (5) days prior to the trial date.

                                           _______________________________
                                             MARTHA VÁZQUEZ
                                             UNITED STATES DISTRICT JUDGE

Linda Z. Romero, Courtroom Deputy - (505) 992-3826
Trial Preparation guidelines: http://www.nmd.uscourts.gov/content/honorable-martha-vazquez
